






NO. 07-06-0398-CR


NO. 07-06-0399-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



DECEMBER 12, 2006


______________________________



THERESE ANN LADD,




			Appellant


v.



THE STATE OF TEXAS, 




			Appellee


							_________________________________



FROM THE 251st DISTRICT COURT OF RANDALL COUNTY;



NOS. 17,294-C and 18,189-C; HON. PATRICK A. PIRTLE, PRESIDING


_______________________________





ON ABATEMENT AND REMAND


_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

	Appellant appeals from her convictions.  On November 21, 2006, the clerk's record
in each case was filed.  The reporter's records were due on November 20, 2006.  No
records or extension motions were filed by the court reporter.  On November 27, 2006, this
court directed the court reporter by letter "to advise the Court of the status of the reporter's
record on or before Thursday, December 07, 2006."  To date, no response has been
received by the court.

	Accordingly, we abate this appeal and remand the cause to the 251st District Court
of Potter County (trial court) for further proceedings.  Upon remand, the trial court shall
immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to
determine the following:

	1.  	why the reporter's record in each case has not been filed,


  	when the reporter's records can reasonably be filed in a manner that
does not further delay the prosecution of these appeals or have the
practical effect of depriving the appellant of their right to appeal, and,

  	whether an alternate or substitute reporter should or can be appointed
to complete the records in a timely manner. 


	

	The trial court shall cause the hearing to be transcribed.  So too shall it 1) execute
findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be
developed a supplemental clerk's record in each case containing its findings of fact and
conclusions of law and all orders it may issue as a result of its hearing in this matter, and
3) cause to be developed a reporter's record in each case transcribing the evidence and
arguments presented at the aforementioned hearing, if any.  Additionally, the district court
shall then file the supplemental records and reporter's records transcribing the hearing with
the clerk of this court on or before January 11, 2007.  Should further time be needed by
the trial court to perform these tasks, then same must be requested before January 11,
2007.

	It is so ordered.

							Per Curiam

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    floatwnd.document.write( WPtext );
    floatwnd.document.write( 'Close');
    floatwnd.document.write( "" );
    floatwnd.document.close();
    floatwnd.focus();
  }
}

function WPHide( WPid )
{
  if( bInlineFloats )
    eval( "document.all." + WPid + ".style.visibility = 'hidden'" );
}







NO. 07-07-0081-CR; 07-07-0082-CR; 07-07-0083-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

FEBRUARY 20, 2009

______________________________
&nbsp;
ALBANO VASQUEZ BADILLO, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE
_________________________________

FROM THE 223RD DISTRICT COURT OF GRAY COUNTY;

NOS. 7059, 7060, 7061; HONORABLE DAVID GLEASON, JUDGE
_______________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Albano Vasquez Badillo appeals from his convictions for resisting arrest
and assault on a public servant and the resulting sentences of 180 days of confinement
in the Gray County Jail for each resisting arrest offense, and confinement for a period of
five years in the Texas Department of Criminal Justice Institutional Division, probated for
five years, and a fine of $5000 for the offense of assault on a public servant.  We affirm.
&nbsp;
Background
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By three indictments, appellant was charged with three separate offenses of assault
on a public servant.


   At trial, appellant was found guilty of assault on a public servant in
one cause and was found guilty in two causes of the lesser-included offense of resisting
arrest.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On appeal, appellant does not challenge the sufficiency of the evidence supporting
his convictions, so we recite only those facts necessary to an understanding of the issues
presented.  Officer Tobie Bias testified he responded to a call regarding a vehicle accident
in Pampa, Texas, with damage to a fence and other property.


  When enroute to the
scene, Bias was twice redirected by his dispatcher, as police received another call
concerning an accident involving the same vehicle.  Bias was given a description of the
pickup and its license tag number.  When he reached the area to which he was last
directed, Bias saw “a lot of smoke”


 and saw a truck matching the description “pushing a
vehicle up into a driveway of a residence . . . .”  The officer activated his emergency lights
and pulled up behind the truck just as the driver, later identified as appellant, stepped out
of the truck.


  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The officer approached appellant, telling him first to “Come here. Stop.” When
appellant did not respond, Bias switched to Spanish, saying “Aqui.”  Appellant still did not
respond and entered the residence with other people who had been in the front yard of the
home.  The officer followed appellant, repeating both “stop” and “aqui” but appellant did not
stop or respond. Bias followed appellant through the open door of the residence.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During their encounter inside the residence, Bias asked appellant if he had a driver’s
license.  Appellant answered affirmatively but would not let the officer see his license.  As
the officer and appellant went toward the kitchen from another area of the residence, the
officer noticed the “overwhelming smell of alcohol” emitting from appellant’s person.  He
observed appellant’s speech was slurred and his eyes were bloodshot.   Deputy Scott
Larue arrived as appellant and Bias reached the kitchen. Fearing access to a knife or other
weapon in the kitchen, the officers attempted to gain control of appellant’s hands, first by
asking appellant to put his hands behind his back.  When appellant refused, Bias grabbed
appellant’s arm.  A fight ensued, during which officers were injured.  As officers escorted
appellant out of the residence, he kicked Sergeant Alvin Johnson in the shoulder.  
Appellant was arrested for DWI and the offenses giving rise to this appeal.


  
Issues
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Through four issues, appellant contends: (1) the trial court erred by denying
appellant’s motion to suppress; (2) the trial court erred by aiding the State in proving its
burden to establish probable cause; (3) the trial judge abused his discretion by examining
the appellant on his citizenship; and (4) the trial judge commented on the evidence by
taking judicial notice of a disputed fact.&nbsp;
Analysis
Motion to Suppress
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In appellant’s first issue, he contends the trial court abused its discretion in denying
his motion to suppress.  Officer Bias and appellant testified at the suppression hearing. 
After hearing the evidence and clarifying a few points, the trial court stated:
As I see the evidence before me at present, Officer Bias, when he arrived at
[appellant’s] parents’ residence, observed the truck that he–that matched the
description of what he was looking for that apparently had been involved in
what was reported to be damage to a fence and possibly other incidents and
that he had every right to detain the driver to further investigate the
situation...all through this I think the officer had the right to detain and to
further investigate the alleged incidents that he was investigating...I think
your motion to suppress should be denied...[t]he motion to suppress is
denied. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A trial court’s ruling on a motion to suppress is reviewed for an abuse of discretion. 
Villarreal v. State, 935 S.W.2d 134, 138 (Tex.Crim.App. 1996).  A bifurcated standard of
review is applied to a trial court’s ruling on a motion to suppress evidence.  This standard
of review gives almost total deference to the trial court’s determination of historical facts
and applies a de novo review of the trial court’s application of the law to those facts. 
Guzman v. State, 955 S.W.2d 85, 89 (Tex.Crim.App. 1997).  The trial court is the sole trier
of fact, the judge of witness credibility, and the determiner of the weight given to witness
testimony.  State v. Ross, 32 S.W.3d 853, 855 (Tex.Crim.App. 2000).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The focus of appellant’s motion to suppress was not clear but the trial court treated
it as challenging the lawfulness of his arrest.  On appeal it appears he is contending the
trial court should have granted his motion to suppress because the police had no
reasonable basis to detain him or to enter the residence in pursuit of him.  Accordingly, we
also focus on the lawfulness of the arrest.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A reviewing court examines the reasonableness of a temporary detention in terms
of the totality of the circumstances.  Balentine v. State, 71 S.W.3d 763, 768 (Tex.Crim.App.
2002).  An investigative detention is permitted under the Fourth Amendment if it is
supported by reasonable suspicion.  Id., citing Terry  v. Ohio, 392 U.S. 1, 27, 88 S.Ct.
1868, 20 L.Ed.2d 889 (1968).  Reasonable suspicion is a particularized and objective basis
for suspecting the person detained is, has been, or soon will be engaged in criminal
activity.  Crockett v. State, 803 S.W.2d 308, 311 (Tex.Crim.App. 1991).  An officer’s
reasonable suspicion must be based on objective facts that the individual involved is
involved in criminal activity.  Id., citing Dickey v. State, 716 S.W.2d 499, 503, n.4
(Tex.Crim.App. 1986). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Probable cause for an arrest exists where police have reasonably trustworthy
information sufficient to warrant a reasonable person to believe that a particular person has
committed or is committing an offense.  McGee v. State, 105 S.W.3d 609, 614
(Tex.Crim.App. 2003). An officer may enter a residence to make an arrest without a
warrant when exigent circumstances require the officer to enter without the consent of a
resident or a warrant.  Tex. Code Crim. Proc. Ann. art. 14.05 (Vernon 2005); Rue v. State,
958 S.W.2d 915 (Tex.App.–Houston [14th Dist.] 1997, no pet).  An officer’s hot pursuit of
an offender seeking to avoid arrest is an exigent circumstance justifying nonconsensual
entry into the offender’s residence.  Id., citing Curry v. State, 831 S.W.2d 485, 488
(Tex.App.–Houston [14th Dist.] 1992, pet. ref’d) (officers’ entry into appellant’s house was
proper when officers were in hot pursuit of appellant who was attempting to avoid arrest),
quoting United States v. Santana, 427 U.S. 38, 96 S.Ct. 2406, 49 L.Ed.2d 300 (1976) (“[A]
suspect may not defeat an arrest which has been set in motion in a public place . . . by the
expedient of escaping to a private place”).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, Officer Bias’s observation at that location of the truck matching the description
he was given provided ample reason to suspect that its driver had been involved in the
reckless driving and property damage reported to police, particularly given the officer’s
additional observation of appellant’s smoky effort to push another vehicle up the driveway. 
The officer was entitled to detain him for further investigation.  See Mottley v. State, 841
S.W.2d 550, 551 (Tex.App.–Houston [1st Dist.] 1992, no pet.) (finding reasonable suspicion
for detention in similar situation).  Bias was in a marked patrol car, he had activated his
emergency lights, and he was wearing a police uniform.  The trial court was free to accept
as true the officer’s version of the events rather than appellant’s version.  The trial court
also was free to see appellant’s failure to respond to the officer’s efforts to detain him,
coupled with appellant’s walking away toward the residence, as giving Bias a reasonable
basis to conclude appellant was intentionally evading detention, providing probable cause
for his arrest.  See Tex. Code Crim. Proc. Ann. art. 14.01 (Vernon 2005); Tex. Penal Code
Ann. § 38.04 (Vernon 2003); Mincey v. State, 112 S.W.3d 748, 753 (Tex.App.–Beaumont
2003, no pet.) (officers could reasonably conclude, based on their first-hand observation
of appellant’s conduct, that appellant was intentionally evading detention when, at the time
officers approached to speak with him, appellant went into the house, slammed the door,
and refused to come to the door or answer the phone).  Like the court in Rue, we further
find appellant’s attempt to evade a lawful detention was an exigent circumstance justifying
Officer Bias’s entry into appellant’s residence.  Bias testified he was afraid he would “lose
track” of appellant and “not be able to locate him” if he allowed appellant to get into the
house out of sight.  See Rue, 958 S.W.2d at 918 (officer sought to lawfully detain
defendant; defendant’s attempt to flee, requiring officer to pursue defendant into his
apartment, was exigent circumstance justifying officer’s entry into apartment).  Under the
totality of the circumstances, the trial judge did not abuse his discretion in denying
appellant’s motion to suppress.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Moreover, we agree also with the State’s contention that appellant’s prosecution for
assault on a public servant during the course of the arrest does not depend on the arrest’s
lawfulness.  See, e.g., Martinez v. State, 91 S.W.3d 331, 340 (Tex.Crim.App. 2002); 
Gonzales v. State, 574 S.W.2d 135, 137 (Tex.Crim.App. 1978) (applying article 38.23 of
the Code of Criminal Procedure); Cooper v. State, 956 S.W.2d 95, 98 (Tex.App.–Tyler
1997, no pet.) (aggravated assault on a peace officer). With respect to the convictions for
resisting arrest, the Penal Code explicitly provides that the unlawfulness of the arrest is not
a defense to prosecution for that offense.  Tex. Penal Code Ann. § 38.03(b) (Vernon
2003).  For this reason also, the trial court did not abuse its discretion by denying
appellant’s motion to suppress.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For both these reasons, we overrule appellant’s first issue.
&nbsp;
Trial Court’s Questions During Suppression Hearing
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In appellant’s second and third issues, he asserts the trial court erred when, during
the suppression hearing, the judge engaged in questioning of Officer Bias (issue two) and
of appellant (issue three).  In issue two, appellant specifically complains of the following:
The Court:I guess I need two points of clarification, if you don’t
mind.  When you saw the pickup pushing the other car
up into the driveway, was the pickup in the driveway or
was it on the street?
Officer Bias:It was–It had already been in the driveway at an angle
like this (indicating) and he was continuing to push the
vehicle farther into the driveway.
The Court:All right.  And when you saw [appellant] exit the truck,
he looked at you and you looked at him; right?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Officer Bias:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Yes, sir.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;And you told him to stop and you told him “Aqui”?
Officer Bias:I told him “Stop, come here” and then I told him “Aqui”
in Spanish.
The Court:Okay.  And that’s all the–that’s all of the Spanish that
you said?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Officer Bias:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Yes, sir.
The Court:At that point in time were you investigating and asking
for identification or were you arresting?
Officer Bias:At that point in time I was still going to detain him for
investigation.  I wasn’t sure what was causing the
actions at that point in time.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In issue three, appellant contends the trial court abused its discretion by questioning
appellant about his background during the suppression hearing.  The exchange of which
appellant complains is as follows:
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Do you speak English?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Do you understand English when it’s spoken to you?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A little.
The Court:A little.  Okay.  Do you recall whether anyone asked you
for your driver’s license?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Are you a U.S. citizen?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;No.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Of what country are you a citizen?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;San Luis Potosi.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Is this a city?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Yes.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The Court:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In which country?
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Rio Verde, San Luis Potosi.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State contends neither issue is preserved for our review because no objection
was made at the time of the questioning.  To preserve a complaint for appellate review, a
party must present to the trial court a timely request, objection, or motion stating the
specific ground for the desired ruling if the specific grounds are not apparent from the
context.  Tex. R. App. P. 33.1; Moreno v. State, 900 S.W.2d 357, 360
(Tex.App.–Texarkana 1995, no writ).  Where no objection is made, remarks and conduct
of the court may not be subsequently challenged unless they constitute fundamental error
because they impugn the presumption of innocence, deny the defendant a fair and
impartial jurist or have similar effect.  Moreno, 900 S.W.2d at 359, citing Brewer v. State,
572 S.W.2d 719, 721 (Tex.Crim.App. 1978) (panel op.); Oulare v. State, 76 S.W.3d 231,
234 (Tex.App.–Amarillo 2002, no pet.) (recognizing requirement to object is applicable to
remarks and conduct of the court).  See also Blue v. State, 41 S.W.3d 129, 138
(Tex.Crim.App. 2000) (plurality op.).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Due process under both the United States and Texas constitutions requires a
neutral and detached hearing body or officer.  Gagnon v. Scarpelli, 411 U.S. 778, 786, 93
S.Ct. 1756, 1762, 36 L.Ed.2d 656 (1973); Earley v. State, 855 S.W.2d 260, 262
(Tex.App.–Corpus Christi 1993), pet. dism’d as improvidently granted, 872 S.W.2d 758
(Tex.Crim.App. 1994); accord, Brumit v. State, 206 S.W.3d 639, 645 (Tex.Crim.App. 2006). 
See also Blue, 41 S.W.3d at 138 (Keasler, J., concurring) (right to impartial judge is
absolute right).  A reviewing court presumes the trial court was neutral and detached
absent a clear showing to the contrary.  Brumit, 206 S.W.3d at 645; Fielding v. State, 719
S.W.2d 361, 366 (Tex.App.–Dallas 1986, pet. ref’d).  A trial judge is permitted to question
a witness when seeking information, clarifying a point, or to obtain a clearer idea of the
merits of the case.  Moreno, 900 S.W.2d at 359; Burks v. State, 693 S.W.2d 747, 750
(Tex.App.–Houston [14th Dist.] 1985, pet. ref’d).  In bench trials, courts may go beyond
asking for mere clarification and ask questions that an advocate might ask in order to assist
the fact-finding process.  Moreno, 900 S.W.2d at 359.  Even so, a court must avoid
becoming involved as an advocate to the extent that it cannot make an objective finding
of fact in the case.  Id. at 360.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Here, the judge’s questions were posed during a hearing on a suppression motion. 
No jury was present.  The nature of the questions focused on clarifying the circumstances
of the officer’s detention of appellant and determining how much of the English language
appellant understood.  The questions by the judge did not taint the presumption of
innocence or deprive appellant of an unbiased judge or tribunal.  Because the questions
did not rise to the level of fundamental error, appellant was obligated to object at trial to
preserve the error for appeal.  See Oulare, 76 S.W.3d at 234, citing Brewer, 572 S.W.2d
at 721.  He did not do so and therefore has presented nothing for our review on these
points.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Even if we consider appellant’s points, we find no abuse of discretion.  Appellant
contends on appeal that by engaging in the questioning of the officer, the judge became
an advocate for the prosecution and assisted the State in satisfying its burden.  With
regard to the court’s questions to appellant, he argues there is no authority that permits the
“trial judge to pry into the background” of a defendant during a motion to suppress. The
State argues the court acted properly, particularly because courts in bench trials have more
latitude in questioning witnesses because there is no risk of improperly influencing the jury. 
Navarro v. State, 477 S.W.2d 291, 292 (Tex.Crim.App. 1972); Moreno, 900 S.W.2d at 359. 
We agree with the State’s position.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;When reviewing complaints about the trial judge’s questioning of a witness, we
apply an abuse of discretion standard.  Born v. Virginia City Dance Hall and Saloon, 857
S.W.2d 951, 957 (Tex.App.–Houston [14th Dist.] 1993, writ denied).  As noted, in criminal
cases, the trial judge is permitted to question a witness when seeking information only, to
clarify a point, or to ask the witness to repeat something the judge could not hear.  Moreno,
900 S.W.2d at 360.  Judges are permitted more leeway when no jury is present.  Id.  See
also Silva v. State, 635 S.W.2d 775, 778 (Tex.App.–Corpus Christi 1982, writ ref’d).  Here,
the trial court’s questions, both those asked of the officer and those asked of appellant,
were within those categories.  The record certainly does not indicate the trial judge
abandoned his neutral and detached role.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On our review of appellant’s complaints, we find no abuse of discretion.  We
overrule appellant’s second and third issues.&nbsp;
Comment on the Evidence
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In appellant’s last issue, he asserts the trial court erred in taking judicial notice of the
meaning of the Spanish word “aqui.”  The State asked appellant’s brother the question
“[a]nd is the Spanish term for “here” “aqui”?  When no verbal response was received, the
prosecutor asked the court to take judicial notice of the fact the Spanish term for “here” is
“aqui.”  The court did so.  Appellant did not object at the time the trial court took judicial
notice that “aqui” meant “here” nor did appellant object at any time when testimony was
offered that “aqui” meant “here.”  Appellant’s third issue thus was not preserved for
appellate review. Tex. R. App. P. 33.1(a)(1); see Tex. R. Evid. 201(e) (“[a] party is entitled
upon timely request to an opportunity to be heard as to the propriety of taking judicial
notice and the tenor of the matter noticed.  In the absence of prior notification, the request
may be made after judicial notice has been taken”).  See also Goad v. Goad, 768 S.W.2d
356, 359 (Tex.App.–Texarkana 1989, writ denied), cert. denied, 493 U.S. 1021, 110 S.Ct.
722, 107 L.Ed.2d 742 (1990) (finding complaint concerning judicial notice waived absent
objection).  Accordingly, we overrule appellant’s last issue.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having overruled each of appellant’s four issues, we affirm the judgment of the trial
court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

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Do not publish.



